Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 1 of 17




  EXHIBIT B
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 2 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 3 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 4 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 5 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 6 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 7 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 8 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 9 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 10 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 11 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 12 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 13 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 14 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 15 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 16 of 17
Case 3:19-cv-01972-SRU Document 1-3 Filed 12/16/19 Page 17 of 17
